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14    Plaintiffs’ Interim Class Counsel

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16
                                   UNITED STATES DISTRICT COURF
17
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
19                                         OAKLAND DIVISION

20     In re Apple iPhone Antitrust Litigation   )   No. 3:11-0671 4-YGR
                                                 )
21                                               )   AMENDED CONSOLIDATED CLASS
22                                               )   ACTION COMPLAINT
                                                 )
23                                               )
                                                 )
24
                                                 )
25                                               )   DEMAND FOR JURY TRIAL

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27
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      AMENDED CONSOLIDATED CLASS ACTION COMPLAINT            --   NO. C 11-06714 YGR
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 I          Plaintiffs Robert Pepper, Stephen H. Schwartz, Edward W. Hayter, Harry Bass, Eric
 2   Terrell, James Blackwell, and Crystal Boykin (“Plaintiffs”), for their class action complaint, allege
 3   upon personal knowledge as to themselves and their own actions, and upon information and belief,
 4   including the investigation of counsel, as follows:
 5                                         NATURE OF ACTION

 6           1.     This is an antitrust class action pursuant to section 2 of the Sherman Antitrust Act
     of 1890, 15 U.S.C.   § 2 (2004) (the “Sherman Act”), brought by Plaintiffs on their own behalf and
 8   on behalf of a class of persons similarly situated, those being persons who purchased an Apple
     iPhone from Defendant Apple Inc. (“Apple”) or non-party AT&T Mobility, LLC (“ATTM”), or

10   elsewhere, and then purchased applications for the iPhone from December 29, 2007 through the
     present (the “Class Period”).
     A.     Summary Of Material Facts
12
            2.      Apple launched its iPhone on or about June 29, 2007.         Prior to launch, Apple
     entered into a secret five-year contract with ATTM that established ATTM as the exclusive
14
     provider of cell phone voice and data services for iPhone customers through some time in 2012
15
     (“Exclusivity Agreement”). As part of the contract, Apple shared in ATTM’s revenues and profits
16
     with respect to the first generation of iPhones launched, known as the iPhone 2G, which was a
17
     unique arrangement in the industry.      The Plaintiffs and other class members who purchased
18
     iPhones did not agree to use ATTM for five years. Apple’s undisclosed five-year Exclusivity
19
     Agreement with ATTM, however, effectively locked iPhone users into using ATTM for five
20
     years, contrary to those users’ knowledge, wishes and expectations.
21
            3.      To enforce ATTM’s exclusivity, Apple, among other things, programmed and
22
     installed software locks on each iPhone it sold that prevented the purchaser from switching to
23
     another carrier that competed with ATTM in the cell phone voice and data services industry.
24
     Under an exemption to the Digital Millennium Copyright Act of 1998, 17 U.S.C.        § 1201, et seq.
25
     (2008) (the “DMCA”), cell phone consumers have an absolute legal right to modify their phones
26
     to use the network of their carrier of choice.        Apple has prevented iPhone customers from
27
     exercising that legal right by locking the iPhones and refusing to give customers the software
28


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 1   codes needed to unlock them.
 2             4.       Under its Exclusivity Agreement with ATTM, Apple retained exclusive control
 3   over the design, features and operating software for the iPhone. To enhance its iPhone-related
 4   revenues, Apple enabled the creation of numerous software programs called “applications,” such
 5   as ringtones, instant messaging, Internet access, gaming, entertainment, video and photography
 6   enabling software that can be downloaded and used by iPhone owners.
 7             5.       In March 2008, Apple released a “software development kit” (“SDK”) for the
 8   stated purpose of enabling independent software developers to design applications for use on the
 9   iPhone.        For an annual fee of $99, the SDK allows developers to submit applications to be
10   distributed through Apple’s applications market, the “iTunes App Store.” If the application is not
11   made available for free in the App Store, Apple collects 30% of the sale of each application, with
12   the developer receiving the remaining 70%.        On information and belief, throughout the Class
13   Period, Apple refused to “approve” any application by a developer who did not pay the annual fee
14   or agree to Apple’s apportionment scheme. Apple also unlawfully discouraged iPhone customers
15   from downloading competing applications software (hereafter “Third Party Apps”) by telling
16   customers that Apple would void and refuse to honor the iPhone warranty of any customer who
17   downloaded Third Party Apps.
18             6.       iPhone consumers were not provided a means by which they could download Third
19   Party Apps that were not approved by Apple for sale on the App Store.
20             7.       Through these actions, Apple has unlawfully stifled competition, reduced output
21   and consumer choice, and artificially increased prices in the aftermarkets for iPhone voice and
22   data services and for iPhone software applications.
23   B.        Summary Of Claims

24             8.       In its July 11, 2012 Order Denying Without Prejudice Defendant’s Motion to

25   Compel Arbitration; Granting in Part Defendant’s Motion To Dismiss [ECF No. 75], the Court

26   dismissed Plaintiffs’ claim of conspiracy to monopolize the iPhone voice and data services

27   aftermarket in violation of Section 2 of the Sherman Act, with the mandate that insofar as

28   Plaintiffs wish to maintain such claims, ATTM must be added as a party.”           Id. at 16 n.29.


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 1   Plaintiffs decline to add ATTM as a party, thereby recognizing that the conspiracy to monopolize
 2   claim (Count III) will remain dismissed. However, the conspiracy to monopolize claim has been
 3   retained in this amended complaint solely and exclusively to preserve the right of Plaintiffs
 4   individually and on behalf of the Class as defined in the Consolidated Class Action Complaint to
 5   challenge the claim’s dismissal on appeal. See, e.g., Lacey v. Maricopa County, Nos. 09-15703,
 6   09-15806, 2012 U.S. App. LEXIS 18320, at *67..68 (9th Cir. Aug. 29, 2012) (“For claims
 7   dismissed with prejudice and without leave to amend, we will not require that they be repled in a
 8   subsequent amended complaint to preserve them for appeal.            But for any claims voluntarily
 9   dismissed, we will consider those claims to be waived if not repled.”).
10           9.      Tn pursuit and furtherance of its unlawful anticompetitive activities, Apple:
11   (a) failed to obtain iPhone consumers’ contractual consent to the five-year Exclusivity Agreement
12   between Apple and ATTM, the effect of which was to lock consumers into using ATTM as their
13   voice and data service provider, even if they wished to discontinue their use of ATTM service;
14   (b) failed to obtain iPhone consumers’ contractual consent to having their iPhones “locked” to
15   only accept ATTM Subscriber Identity Modules (“SIM cards”), thereby preventing iPhone
16   purchasers from using any cell phone voice and data service provider other than ATTM; (c) failed
17   to obtain iPhone consumers’ contractual consent to make unavailable to them the “unlock code”
18   that would enable the consumers to use a service other than ATTM, even though ATTM routinely
19   provides such unlock codes for other types of cell phones; and (d) failed to obtain iPhone
20   consumers’ contractual consent to Apple prohibiting iPhone owners from downloading Third
21   Party Apps.
22           10.     Apple violated section 2 of the Sherman Act by conspiring with ATTM to
23   monopolize the aftermarket for voice and data services for iPhones in a manner that harmed
24   competition and injured consumers by reducing output and increasing prices in that aftermarket.
25           11.     Apple also violated section 2 of the Sherman Act by monopolizing or attempting to
26   monopolize the software applications aftermarket for iPhones in a manner that harmed
27   competition and injured consumers by reducing output and increasing prices for those
28   applications.

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 1          12.     Plaintiffs seek declaratory and injunctive relief, treble and exemplary damages,
 2   costs and attorneys’ fees. As for equitable relief, Plaintiffs seek an order: (a) restraining Apple
 3   from selling iPhones that are programmed in any way to prevent or hinder consumers from
 4   unlocking their SIM cards or from downloading Third Party Apps; (b) requiring Apple to provide
 5   the iPhone SIM unlock codes to members of the class and other iPhone consumers immediately
 6   upon request; and (c) restraining Apple from selling or distributing locked iPhones without
 7   adequately disclosing the fact that they are locked to work only with ATTM SIM cards and
 8   without obtaining the consumers’ contractual consent to have their iPhones locked.’
 9                                            THE PARTIES
10          13.     Plaintiff Robert Pepper is an individual residing in Chicago, Illinois who, on or
11   about June 29, 2007, purchased an iPhone and paid for ATTM voice and data service for his
12   iPhone at ATTM’s stated rates during the Class Period.
13          14.     Plaintiff Stephen H. Schwartz is an individual residing in Ardsley, New York who,
14   in October 2010, purchased an iPhone and paid for ATTM voice and data service for his iPhone at
15   ATTM’s stated rates during the Class Period.
16          15.     Plaintiff Edward W. Hayter is an individual residing in Brooklyn, New York who,
17   in March 2008, purchased an iPhone and paid for ATTM voice and data service for his iPhone at
18   ATTM’s stated rates during the Class Period.
19          16.     Plaintiff Harry Bass is an individual residing in Brooklyn, New York, who, in
20   December 2008, purchased an iPhone and paid for ATTM voice and data service for his iPhone at
21   ATTM’ s stated rates during the Class Period.
22          17.     Plaintiff Eric Terrell is an individual residing in Oakland, California who, on or
23
24   1
            Apple has released six models of the iPhone to date. From the earliest to most recent, the
25   models are the iPhone 20, the iPhone 30, the iPhone 3GS, the iPhone 4, the iPhone 4S and the
     iPhone 5. Apple created the first three iPhones to operate only on the ATTM wireless network, as
26   part of the Exclusivity Agreement. One version of the iPhone 4 is locked to work only on
     ATTM’s network, while another version, which was released on February 3, 2011, works on
     Verizon’s network. The iPhone 4S and iPhone 5 are designed to be able to operate on any
28   domestic carrier’s network.


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 1   about June 29, 2007, purchased an iPhone and paid for ATTM voice and data service for his
 2   iPhone at ATTM’s stated rates during the Class period.
 3           18.     Plaintiff James Blackwell is an individual residing in Pinole, California who, in
 4   October 2010, purchased an iPhone and paid for ATTM voice and data service for his iPhone at
 5   ATTM’ s stated rates during the Class period.
 6           19.    Plaintiff Crystal Boykin is an individual residing in Oakland, California who, in
 7   March 2008, purchased an iPhone and paid for ATTM voice and data service for her iPhone at
 8   ATTM’s stated rates during the Class period.
 9           20.    Defendant Apple is a California corporation with its principal place of business
10   located at I Infinite Loop, Cupertino, California 95014. Apple regularly conducts and transacts
11   business in this District, as well as throughout Illinois, New York and elsewhere in the United
12   States. Apple manufactures, markets, and sells the iPhone, among other electronic devices.
13                                     JURISDICTION AND VENUE
14          21.     This Court has federal question jurisdiction pursuant to the Sherman Act, the
15   Clayton Antitrust Act of 1914, 15 U.S.C.    §   15 and pursuant to 28 U.S.C.   §    1331 and 1337.
16          22.     This Court also has jurisdiction pursuant to 28 U.S.C.                   §   1332(d)(2) because
17   sufficient diversity of citizenship exists between parties in this action, the aggregate amount in
18   controversy exceeds $5,000,000, and there are 100 or more members of the proposed class.
19          23.     Venue is proper in this District pursuant to 28 U.S.C.               §       1391 because some
20   Plaintiffs purchased iPhones in this District, Apple has its principal place of business in this
21   District, a substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred here,
22   and Apple is a corporation subject to personal jurisdiction in this District and, therefore, resides
23   here for venue purposes.
24          24.     Each Plaintiff and member of the Class, in order to activate their iPhone, was
25   required to accept the “iPhone Terms and Conditions” (the “Terms”).                     The Terms state, in
26   pertinent part, that “You expressly agree that exclusive jurisdiction for any claim or dispute with
27   Apple or relating in any way to your use of the iTunes Service resides in the courts in the State of
28   California.” (emphasis added).

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                                             FACTUAL ALLEGATIONS
     A.     Plaintiffs’ In juries
 2
            25.          In Spring 2007, Apple began a massive advertising campaign to market its new
     wireless communication device, the iPhone. The iPhone was advertised as a mobile phone, iPod
     and “breakthrough” Internet communications device with desktop-class email, an “industry first”
     “visual voicemail,” web browsing, maps and searching capability.
 6
            26.          The iPhone debuted on June 29, 2007, and despite its hefty $499 or $599 price tag,
                                                                                                       2
     consumers waited in line to get their hands on one.
 8
            27.          Pursuant to the secret Exclusivity Agreement between Apple and ATTM described
     more fully below, during the Class Period the iPhone was sold at both Apple’s and ATTM’s retail
10
     and online stores, among other places.
11
            28.      Apple and ATTM entered into a five-year exclusive service provider agreement,
12
     which on information and belief was originally scheduled to expire in 2012, although it appears to
13
     have been terminated early by Apple before February 2011, when Verizon Wireless began selling
14
     voice and data service for the iPhone.
15
            29.      Each Plaintiff purchased one or more iPhones.            Each Plaintiff also purchased
16
     wireless voice and data services from ATTM for their iPhones.
17
            30.      Prior to Plaintiffs’ purchases of their iPhones and ATTM voice and data services,
18
     Apple had not even disclosed       —   much less obtained the Plaintiffs’ contractual consent to    —   either
19
     (a) the existence of Apple’s five-year Exclusivity Agreement with ATTM, or (b) that Apple’s
20
     five-year agreement would effectively lock Plaintiffs into using ATTM as their voice and data
21
     service provider for the duration of the five-year agreement. In fact, neither Apple’s nor ATTM’s
22
     sales or customer service representatives were told about the length of the secret Exclusivity
23
     Agreement.
24
            31.      Prior to Plaintiffs’ purchases of their iPhones and voice and data service, Apple had
25
     not disclosed   —   much less obtained Plaintiffs’ contractual consent to   —   the fact (a) that Plaintiffs’
26
     iPhones were locked to only work with ATTM SIM cards, or (b) that the unlock codes would not
27
     2
28          Initially, the 4GB iPhone 2G retailed for $499 and the 8GB iPhone 2G retailed for $599.


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 1   be provided to them on request.
 2          32.     On information and belief, ATTM provides unlock codes for cell phones other than
 3   the iPhone if requested by a consumer.
 4          33.     Plaintiff Pepper wanted to have the option of switching to a competing domestic
 5   voice and data service provider other than ATTM.
 6          34.     Plaintiff Schwartz would like the ability to unlock his SIM card for international
 7   travel and to switch to a competing domestic voice and data service provider other than ATTM.
 8          35.     Plaintiff Hayter wanted to have the option of switching to a competing domestic
 9   voice and data service provider other than ATTM.
10          36.     Plaintiff Bass wanted to have the option of switching to a competing domestic
11   voice and data service provider other than ATTM.
12   B.     The Cell Phone Industry

13          37.     Cellular telephone service began to be offered to consumers in 1983.       Cellular

14   telephones operate using radio frequency channels allocated by the Federal Communications

15   Commission (“FCC”). Geographical service areas, sometimes known as “cells,” are serviced by

16   base stations using low-power radio telephone equipment, sometimes known as “cell towers.”

17   The cell towers connect to a Mobile Telephone Switching Office (“MTSO”), which controls the

18   switching between cell phones and land line phones, accessed through the public-switched

19   telephone network, and to other cell telephones.

20          38.     In cellular service there are two main competing network technologies: Global

21   System for Mobile Communications (“GSM”) and Code Division Multiple Access (“CDMA”).

22   GSM is the product of an international organization founded in 1987 dedicated to providing,

23   developing, and overseeing a worldwide wireless standard. CDMA is an alternative technological

24   platform, developed by Qualcomm, Inc., used in much of North America and parts of Asia.

25          39.    To enable cell phones to send and receive emails, stream video and provide other

26   services requiring higher data transfer speeds, both CDMA and GSM carriers adopted

27   technologies to comply with what the industry refers to as “3rd or 4th generation,” or “3G” or

28   “4G” standards. These technologies require the cell phone to operate on a separate 3G or 4G


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 1   network. The ATTM services provided to users of the first-generation iPhone were on ATTM’s
 2   2G network, whereas later versions of the iPhone operate on 3G and 4G networks.
 3           40.     While there are a number of cellular phone service providers in the United States,
 4   only four have substantial national networks: ATTM, T-Mobile USA, Inc. (“T-Mobile”), Sprint
 5   Corporation (“Sprint”), and Ceilco Partnership d/b/a Verizon Wireless (“Verizon”) (collectively,
 6   the “Major Carriers”). Other suppliers may in effect be “resellers” of cellular telephone service
 7   which they purchase from the Major Carriers.       ATTM and T-Mobile operate GSM networks,
 8   while Sprint and Verizon operate CDMA networks.
 9           41.    ATTM and the other wireless carriers have long dominated and controlled the cell
10   phone industry in the United States in a manner that, according to a Wall Street Journal article,
11   “severely limits consumer choice, stifles innovation, crushes entrepreneurship, and has made the
12   US. the laughingstock of the mobile-technology world, just as the cellphone is morphing into a
13   powerful hand-held computer.” Walter S. Mossberg, Free My Phone,          WALL STREET JOURNAL,

14   Oct. 22, 2007, at R3, col. 1.
15          42.     Unlike the personal computer market in general    —   where computer manufacturers
16   and software developers can offer products directly to consumers without having to gain the
17   approval of Internet service providers, and without paying those providers a penny   —   the wireless
18   carriers have used their ability to grant or deny access to their wireless networks to control both
19   the type of cell phone hardware and software that can be manufactured and to extract payments
20   from manufacturers granted access to their networks and customers. Id.
21          43.     The anticompetitive nature of the wireless telephone market the carriers have
22   created and facilitated gave rise to the commercial context in which Apple was able to commit the
23   wrongs and offenses alleged herein.
24   C.     The Cell Phone Industry’s History Of Misusing Locked SIM Cards

25          44.     In the United States, as a general rule, only GSM phones use SIM cards. The

26   removable SIM card allows phones to be instantly activated, interchanged, swapped out and

27   upgraded, all without carrier intervention. The SIM card itself is tied to the network rather than

28   the actual phone. Phones that are SIM card-enabled generally can be used with any GSM carrier.


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 1          45.     Thus, the hardware of all GSM compatible cell phones give consumers some
 2   degree of choice to switch among GSM carriers’ wireless networks by enabling them to replace
 3   their SIM card, a process that the average individual consumer easily can do with no training by
 4   following a few simple instructions in a matter of minutes. SIM cards are very inexpensive, now
 5   typically costing a few dollars. When the card is changed to the SIM card of another carrier, the
 6   cell phone is immediately usable on the other carrier’s network.         To switch from ATTM to
 7   T-Mobile, or the other way around, all that is required is this simple change of the SIM card.
 8          46.     For telephone users who travel, particularly to Europe, the ability to change SIM
 9   cards to a European carrier such as Orange, Vodaphone or TIM, allows the user of a GSM
10   American phone to “convert it” to a “local” phone in the country where they have traveled.
11   Absent a conversion to local service, a consumer using an American GSM cell phone abroad must
12   pay both for the American service and for “roaming” charges, that is, the right to call or retrieve
13   data from outside of the customer’s primary calling area. Roaming charges are typically very
14   high, often a dollar or more a minute. As a result, U.S.-based cell phone users traveling abroad
15   can yield very substantial savings by switching the SIM card and paying for local service rather
16   than using the U.S.-based GSM carrier.
17          47.     Tn an effort to minimize consumers’ ability to switch carriers or avoid roaming
18   charges by simply switching SIM cards, the Major Carriers, acting in concert through trade
19   associations and standards-setting organizations such as the CDMA Development Group, the
20   Telecommunications Industry Association, the Third Generation Partnership Project, the Alliance
21   for Telecommunications, the Open Mobile Alliance, the CSM Association, the Universal Wireless
22   Communications Consortium, and the Cellular Telephone Industry Association, and otherwise,
23   agreed to implement “Programming Lock” features which effectively “locked” individual handsets
24   so that they could not be used without the “unlocking” code. GSM carriers obtain a locking code
25   (normally only six digits long) unique to each cell phone from the cell phone manufacturer.
26   Absent obtaining the unlocking code from their GSM carrier, consumers who purchase a
27   telephone manufactured to work with one of the two GSM Major Carriers can not switch to
28   another carrier, even temporarily while traveling abroad, without buying an entirely new phone.

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 1           48.      The two GSM carriers, ATTM and T-Mobile, adopted a SIM-lock standard that
 2   locked each GSM phone to a particular SIM card, thereby preventing consumers from simply
 3   changing their SIM cards to switch carriers. However, throughout the Class Period both T-Mobile
 4   and ATTM (for cell phones other than the iPhone) typically unlocked SIM cards on request for
 5   international travel, or even if customers wanted to cancel their accounts and switch to another
 6   carrier. In most cases, the unlock code was given on request, almost instantly, over the telephone.
 7           49.      Accordingly, ATTM unlocked SIM cards on telephones sold exclusively through
 8   them, such as the Blackberry Torch and the Samsung Blackjack. There is but one exception: the
 9   iPhone. Even today, ATTM refuses to provide the unlock code for iPhones for international travel
10   or 3
        otherwise. That is because, as described more fully below, Apple and ATTM unlawfully
11   agreed as part of the Exclusivity Agreement that the iPhone would not be unlocked under any
12   circumstances.
13   D.      Apple’s Misuse Of Other Locked Program Codes

14           50.      The iPhone operating system also contains “security measures” which are, in effect,

15   Program Locks designed to restrict the consumer from using programs or services on the iPhone

16   other than those sanctioned by, and which generate revenue for, Apple.           By design, Apple

17   programmed the iPhone in a manner that prevented iPhone purchasers from downloading any

18   Third Party Apps offered by software manufacturers who did not share their revenues with Apple

19   or pay a fee to Apple to sell through iTunes.

20           51.      However, because of the design of the Apple operating system, which is based on

21   the widely available Unix platform, Apple’s initial efforts to eliminate Third Party Apps and to

22   prevent iPhone customers from unlocking their SIM cards were ineffective, as clever consumers

23
              Despite the fact that the iPhone 4S can be operated on either a GSM or CDMA network,
24   ATTM only allows customers to unlock their iPhones if they meet specific criteria, including
25   having completed the full term of their service agreement. See http://www.att.coml
     esupport!article.j sp?sid=KB4 1 4532&cv820#thidP8B3TW I -RQ9 (requiring that “All contract
26   obligations, including any term commitment, associated with the device to be unlocked have been
     fully satisfied.”). By contrast, Verizon’s iPhone 5 model is already unlocked when sold to
27   customers. See http://www.tuaw.com/20l 2!09!24!verizon-iphone-5-ships-unlocked-likely-thanks-
28   to-fcc!.


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 1   and programmers of Third Party Apps quickly circumvented Apple’s locking codes and made both
 2   “unlocked” iPhones and “unlocking” software for iPhones available for sale on the Internet.
 3   E.      Apple Knows It Cannot Legally Prevent Consumers From Unlocking iPhones
             52.    Several years ago, the Major Carriers were subject to lawsuits that sought to
     impose liability based on the existence of Program Locks. Carriers had claimed that Program

 6   Locks were necessary to protect their copyrighted intellectual property and claimed then, as Apple
     has done, that the reason for the locks was to benefit consumers and protect against fraud.

 8   Carriers had also sought to assert that under the terms of the DMCA, disabling the Program Locks
     or unlocking a SIM card would be a violation of law.

10           53.    The DMCA was enacted in 1998 to prohibit third parties from circumventing

11   technological measures (called “access controls”) that copyright owners had employed to control

12   access to their protected intellectual property.   However, in November 2006, the Librarian of

13   Congress, who by statute has authority to create exemptions to the restrictions in section 1201 of

14   the DMCA to ensure the public is able to engage in noninfringing uses of copyrighted works,

15   announced a three-year exemption from the prohibition against circumvention of access controls

16   for “[clomputer programs in the form of firmware that enable wireless telephone handsets to

17   connect to a wireless telephone communication network, when circumvention is accomplished for

18   the sole purpose of lawfully connecting to a wireless telephone communication network.” The

19   exemption stemmed from a recommendation by the Register of Copyrights, which concluded that

20   “the access controls [on cell phones] do not appear to actually be deployed in order to protect the

21   interests of the copyright owner or the value or integrity of the copyrighted work; rather, they are

22   used by wireless carriers to limit the ability of subscribers to switch to other carriers, a business

23   decision that has nothing whatsoever to do with the interests protected by copyright.”

24   Exemption to Prohibition on Circumvention of Copyright Protection Systems for Access Control

25   Technologies, 71 Fed. Reg. 68472, 68476 (Nov. 27, 2006) (emphasis added).

26           54.    In 2009, the Librarian of Congress extended the initial three-year exemption

27   applicable to cell phone access controls on an interim basis.        Exemption to Prohibition on

28   Circumvention of Copyright Protection Systems for Access Control Technologies, 74 Fed. Reg.


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 1   55138, 55139 (Oct. 27, 2009). On July 27, 2010, the Librarian of Congress issued a final rule to
 2   this effect.    Exemption to Prohibition on Circumvention of Copyright Protection Systems for
 3   Access Control Technologies, 75 Fed. Reg. 43825, 43832 (July 27, 2010).
 4             55.    Because Apple was unable to enforce its SIM card Program Locks through legal
 5   means, it engaged in a scheme to enforce them unlawfully as to the iPhone.
 6   F.        The Apple   —   ATTM Exclusivity Agreement
               56.    On January 9, 2007, a little over a month after the initial adverse Librarian of

 8   Congress ruling, Apple announced that it had entered into an exclusive agreement making ATTM
     the only authorized provider of wireless voice and data services for iPhones in the United States.

10   Apple did not announce that the duration of that exclusive agreement was five years.
               57.    While the terms of that Exclusivity Agreement and any related agreements

12   (collectively, the “Agreement”) still have not been made public, some rumored details emerged.

13   First, ATTM and Apple agreed to share ATTM’s voice service and data service revenue received

14   from iPhone customers. This was a unique arrangement in the industry and gave Apple strong

15   motivation to force iPhone consumers to continue purchasing voice and data services from ATTM

16   for as long as possible.

17             58.    Second, while ATTM offered iPhone purchasers industry standard monthly voice

18   and data service that could be terminated at any time prior to two years for a fee, Apple had

19   secretly agreed to give ATTM iPhone exclusivity for five years, so that iPhone customers would

20   have no choice but to continue purchasing voice and data services from ATTM until sometime in

21   2012 in order for their iPhone to continue to operate    —   even if the customers wanted to terminate

22   their ATTM service early to switch to a less expensive carrier, such as T-Mobile in the United

23   States.

24             59.    Third, on information and belief, Apple and ATTM agreed to enforce ATTM’s

25   exclusivity by installing SIM card Program Locks on all iPhones and agreeing never to disclose

26   the unlock codes to iPhone consumers who wished to replace the iPhone SIM card, either for

27   international travel or to lawfully switch to another carrier.

28

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 1           60.    Fourth, the Agreement allowed Apple to control the features, content, software
 2   programming and design of the iPhone.
 3           61.    Fifth, since both Apple and ATTM recognized that the iPhone would create a
 4   unique product for which consumers would pay a premium price compared to other cell phones,
 5   the pricing structure of the ATTM exclusivity deal was different than a typical agreement between
 6   a carrier and a handset manufacturer. Typically, the carrier subsidizes the purchase price of the
 7   handset (that is, sells the cell phone to the consumer at a substantial discount off the list price) in
 8   return for the consumer purchasing wireless service from the carrier for a period of time. This
 9   arrangement, the carriers argue, benefits the consumer by lowering the cell phone’s price. The
10   carriers, however, charge an early termination fee if consumers wish to discontinue their purchase
11   of wireless service prior to the agreed upon length of time, which fee the carriers argue is justified
12   by their subsidization of the cell phone price. Upon termination, the cell phone customer can
13   obtain cell phone service from any carrier using the same network protocol (i.e., GSM or CDMA).
14           62.    In Apple’s and ATTM’s Agreement, ATTM did not agree to subsidize the purchase
15   of the iPhone handset initially but nevertheless still charged iPhone consumers a fee for
16   terminating their voice and data service within the first two years. The early termination fee by
17   ATTM was not justifiable absent subsidization of the handset price.               The benefits of the
18   termination fee were also illusory because even those iPhone consumers who discontinued their
19   ATTM voice and data services by paying the early termination fee were prevented from obtaining
20   wireless service for their iPhone from one of ATTM’s competitors domestically or abroad.
21           63.    Sixth, on information and belief, ATTM and Apple agreed that they would take
22   action, legal or otherwise, to prevent users from circumventing the SIM card locks. A central
23   pu1pose of this agreement was to suppress lawful competition domestically by T-Mobile against
24   ATTM in the iPhone aftermarket for voice and data services.
25           64.    Finally, on information and belief, Apple and ATTM agreed that Apple would be
26   restrained for a period of time from developing a CDMA version of the iPhone to suppress
27   competition by Sprint and Verizon. Apple and ATTM agreed to this restraint notwithstanding that
28

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 1   Apple could easily develop an iPhone for use on CDMA networks. In fact, Apple originally
 2   approached Verizon to be the iPhone exclusive service provider before Apple approached ATTM.
 3           65.   None of the above details of the Exclusivity Agreement were disclosed to
 4   purchasers of the iPhone, by representatives of Apple and ATTM or otherwise. Nor did any
 5   iPhone purchaser ever contractually consent to any of those terms upon purchasing their iPhone.
 6           66.    On information and belief, Apple and ATTM ceased sharing ATTM’s revenues,
 7   and reverted to a more traditional carrier-handset manufacturer arrangement whereby ATTM
 8   simply purchases the hand-sets from Apple without kicking back its future revenues to Apple,
 9   with respect to the iPhone 3G, iPhone 3GS, iPhone 4 and iPhone 4S. Apple and ATTM, however,
10   continued to abide by and enforce the other anticompetitive terms of their Agreement, such as the
11   Program Locks and their refusal to give consumers the unlock codes for their iPhones, in order to
12   continue to suppress competition in the voice and data service aftermarket and to continue to enjoy
13   the supracompetitive profits stemming from their Agreement.
14   G.      Apple And ATTM Quickly Faced Unwanted Competition In The iPhone
             Aftermarkets
15
             67.    Almost immediately after the iPhone 2G was launched, Third Party Apps for the
16
     iPhone started to appear that generated competition for Apple in the applications aftermarket and
17
     for ATTM in the cellular voice and data service aftermarket. For example, Mobile Chat and
18
     FlickiM gave iPhone users access to instant messaging programs from which Apple derived no
19
     revenues.
20
             68.   Apple also faced competition for iPhone ringtones. When a customer purchased a
21
     song for $1 from the Apple iTunes store, Apple charged the customer an additional 99 cents to
22
     convert any portion of that song into a ringtone. A number of competing programmers promptly
23
     offered a variety of ringtone programs that enabled iPhone consumers to download both for free.
24
     Some of these programs allowed customers to use samples of popular songs lawfully downloaded
25
     from Apple’s iTunes store as a ringtone for their iPhone. Other programs, such as I-Toner from
26
     Ambrosia Software and iPhone RingToneMaker from Efiko software, allowed customers to “clip”
27
     portions of songs purchased by them from iTunes for use as ringtones.
28

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 1           69.     Since many of these programs used songs downloaded from iTunes, Apple initially
 2   sought to block the use of those songs as ringtones by updating the iTunes software to install
 3   Program Locks that would interfere with such use.          However, those efforts were all quickly
 4   defeated by third party programmers, sometimes within hours of the release of the update.
 5          70.      The availability of Third Party Apps for iPhones reduced Apple’s share of the
 6   iPhone aftermarket for ringtones and other applications and greatly reduced or threatened to
 7   reduce Apple’s expected supracompetitive revenues and profits in that aftermarket.
 8          71.      The availability of SIM card unlocking solutions took a little longer and was more
 9   complicated. Initially, some customers sought to evade the program lock by altering the hardware.
10   In August 2007, a high-school student announced the first “hardware unlocked” iPhone on
11   YouTube.      Shortly thereafter, software unlocks were developed and an explosion of unlock
12   solutions, both free and for a fee, appeared on the Internet. Many of the solutions involved a small
13   change in the software, in some cases in as little as two bytes of code.
14          72.      The availability of SIM card unlocking solutions enabled iPhone customers to
15   lawfully terminate their ATTM voice and data service if they were unhappy with ATTM’s service
16   and switch to T-Mobile in the United States, and it enabled iPhone customers to avoid ATTM’s
17   excessive international roaming charges by replacing the ATTM SIM card with a local carrier’s
18   SIM card while traveling.
19          73.      The availability of SIM card unlocking solutions reduced ATTM’s and Apple’s
20   share of the iPhone voice and data services aftermarket and threatened to reduce the supra
21   competitive revenues and profits they conspired to earn.
22                                        CLASS ALLEGATIONS

23          74.      Plaintiffs bring this action as a class action on behalf of themselves and all others

24   similarly situated for the purpose of asserting claims alleged in this Complaint on a common basis.

25   Plaintiffs’ proposed class (hereinafter the ‘Class”) is defined under Federal Rules of Civil

26   Procedure 23(b)(2) and (3). and Plaintiffs propose to act as representatives of the following Class

27   comprised of:
            All persons, exclusive of Apple and its employees, who purchased an iPhone
28          anywhere in the United States at any time, and who then also purchased

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             applications from Apple from December 29, 2007 through the present (the
 1           “Class Period”).
 2           75.     The Class for whose benefit this action is brought is so numerous that joinder of all
 3   members is impractical.
 4           76.     Plaintiffs are unable to state the exact number of Class members without discovery
 5   of Apple’s records but, on information and belief, state that tens of millions of iPhones and
 6   billions of applications were purchased during the Class Period.
 7           77.     There are questions of law and fact common to the Class which predominate over
 8   any questions affecting only individual members including whether Apple violated section 2 of the
 9   Sherman Act by monopolizing or attempting to monopolize the aftermarket for iPhone software
10   applications.
11           78.     The common questions of law and fact are identical for each and every member of
12   the Class.
13           79.     Plaintiffs are members of the Class they seek to represent, and their claims arise
14   from the same factual and legal basis as those of the Class; they assert the same legal theories as
15   do all Class members.
16           80.     Plaintiffs will thoroughly and adequately protect the interests of the Class, having
17   obtained qualified and competent legal counsel to represent themselves and those similarly
18   situated.
19           81.     The prosecution of separate actions by individual class members would create a
20   risk of inconsistent adjudications and would cause needless expenditure ofjudicial resources.
21           82.     Plaintiffs are typical of the Class in that their claims, like those of the Class, are
22   based on the same unconscionable business practices, and the same legal theories.
23           83.     Apple has acted on grounds generally applicable to the Class.
24           84.     A class action is superior to all other available methods for the fair and efficient
25   adjudication of the controversy.
26                               RELEVANT MARKET ALLEGATIONS

27           85.     The iPhone is a unique, premium priced product that generates a unique

28   aftermarket for voice and data services and software applications that can be used only on iPhones.


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 1   During at least the Class Period, the price of iPhones was not responsive to an increase in iPhone
 2   service or application prices because: (a) consumers who purchased an iPhone could not, at the
 3   point of sale, reasonably or accurately inform themselves of the “lifecycle costs” (that is, the
 4   combined cost of the handset and its required services, parts and applications over the iPhone’s
 5   lifetime); and (b) consumers were “locked into” the iPhone due to its high price tag and would
 6   incur significant costs to switch to another handset. The aftermarkets for iPhone voice and data
 7   services and applications are thus economically distinct product markets, and the service and
 8   application products that are sold within those markets had no acceptable substitutes.             The
 9   geographic scope of the iPhone voice and data services and applications aftermarkets are national.
10          86.     The aftermarkets for iPhone services and applications include: (a) the aftermarket
11   for wireless voice and data services (the “iPhone Voice and Data Services Aftermarket”); and
12   (b) the aftermarket for software applications that can be downloaded on the iPhone for managing
13   such functions as ringtones, instant messaging, photographic capability and Internet applications
14   (the “Applications Aftermarket”).
15          87.     The iPhone Voice and Data Services Aftermarket came into existence immediately
16   upon the sale of the first iPhones, because: (a) the iPhone Voice and Data Services Aftermarket is
17   derivative of the iPhone market; (b) no Plaintiff or member of the Class contractually agreed to
18   permit Apple to impose any restrictions in this aftermarket; (c) the Plaintiffs and members of the
19   Class were entitled to terminate service with ATTM at any time upon payment of a termination
20   fee; and (d) no Plaintiffs or members of the Class agreed with anyone to not purchase and use
21   voice and data services from providers other than ATTM.
22          88.     Similarly, the Applications Aftermarket came into existence immediately upon the
23   sale of the first iPhones because: (a) the Applications Aflermarket is derivative of the iPhone
24   market; and (b) no Plaintiff or member of the Class agreed to any restrictions on their access to the
25   Applications Aftermarket.
26
27
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                                              COUNT I
 1                     Unlawful Monopolization Of The Applications Aftermarket
                            In Violation Of Section 2 Of The Sherman Act
 2                             (Seeking Damages And Equitable Relief)
 3           89.     Plaintiffs reallege and incorporate paragraphs 1 through 88 above as if set forth
 4   fully herein.
 5           90.     Apple has acquired monopoly power in the iPhone Applications Aftermarket
 6   through unlawful, willful acquisition or maintenance of that power.       Specifically, Apple has
 7   unlawfully acquired monopoly power by:         (a) “approving” only applications that generate
 8   revenues for Apple, and/or that are submitted to Apple for approval after the developer pays Apple
 9   an annual fee of $99; (b) discouraging iPhone customers from using competing Third Party Apps
10   by spreading misinformation; and (c) programming the iPhone operating system in a way that
11   prevents iPhone customers from downloading Third Party Apps, disables Third Party Apps and/or
12   disables or destroys the full functionality of the iPhones of users who download Third Party Apps.
13           91.     Apple’s unlawful acquisition of monopoly power has reduced output and
14   competition and resulted in increased prices for products sold in the iPhone Applications
15   Aftermarket and, thus, harms competition generally in that market.
16           92.     Plaintiffs have been injured in fact by Apple’s unlawful monopolization because
17   they have: (a) been deprived of lower cost alternatives for applications; (b) been forced to pay
18   higher prices for Apple “approved” applications; and/or (c) had their iPhones disabled or
19   destroyed.
20           93.     Apple’s unlawful monopolization of the iPhone Applications Aftermarket violates
21   section 2 of the Sherman Act, and its unlawful monopolization practices are continuing and will
22   continue unless they are permanently enjoined. Plaintiffs and members of the Class have suffered
23   economic injury to their property as a direct and proximate result of Apple’s unlawful
24   monopolization, and Apple is therefore liable for treble damages, costs and attorneys’ fees in
25   amounts to be proved at trial.
26
27
28

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  1                                             COUNT!!
                       Attempted Monopolization Of The Applications Aftermarket In
 2                              Violation Of Section 2 Of The Sherman Act
                                 (Seeking Damages And Equitable Relief)
 3
              94.      Plaintiffs reallege and incorporate paragraphs 1 through 93 above as if set forth
      fully herein.
              95.      Defendant Apple has engaged in exclusionary, predatory and anticompetitive
 6
      conduct with a specific intent to monopolize the iPhone Applications Aftermarket. Specifically,
      Apple has attempted unlawfully to acquire monopoly power by: (a) “approving” only applications
 8
      that generate revenues for Apple, and/or that are submitted to Apple for approval after the
      developer pays Apple an annual fee of $99; (b) discouraging iPhone customers from using
10
      competing Third Party Apps by spreading misinformation; and (c) programming the iPhone
      operating system in a way that prevents iPhone customers from downloading Third Party Apps,
12
      disables Third Party Apps and/or disables or destroys the full functionality of the iPhones of users
IL,
      who download Third Party Apps. Apple did not have a legitimate business justification for any of
14
      these actions.
15
              96.      Apple’s anticompetitive actions have created a dangerous probability that Apple
16
      will achieve monopoly power in the Applications Aftermarket because Apple has already
17
      unlawfully achieved an economically significant degree of market power in that market and has
18
      effectively foreclosed new and potential entrants from entering the market or gaining their
19
      naturally competitive market shares.
20
             97.       Apple’s attempted acquisition of monopoly power has reduced output and
      competition and resulted in increased prices for products sold in the iPhone Applications
22
      Aftermarket and, thus, harms competition generally in that market.
             98.       Plaintiffs have been injured in fact by Apple’s attempted monopolization because
      they have: (a) been deprived of lower cost alternatives for applications; (b) been forced to pay
      higher prices for Apple “approved” applications; and/or (c) had their iPhones disabled or
26
      destroyed.
27
             99.       Apple’s attempted monopolization of the iPhone Applications Aftermarket violates
28


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 1   section 2 of the Sherman Act, and its anticompetitive practices are continuing and will continue
 2   unless they are permanently enjoined.       Plaintiffs and members of the Class have suffered
 3   economic injury to their property as a direct and proximate result of Apple’s attempted
 4   monopolization, and Apple is therefore liable for treble damages, costs and attorneys’ fees in
 5   amounts to be proved at trial.
 6                          COUNT III [PRESERVED FOR APPEALj
             Conspiracy To Monopolize The iPhone Voice And Data Services Aftermarket
 7                         In Violation Of Section 2 Of The Sherman Act
                              (Seeking Damages And Equitable Relief)
             100.    Plaintiffs reallege and incorporate paragraphs 1 through 99 above as if set forth
     fully herein.
10
             101.    Apple knowingly and intentionally conspired with ATTM with the specific intent
11
     to monopolize the iPhone Voice and Data Services Aftermarket. In furtherance of the conspiracy,
12
     Apple and its co-conspirator agreed without Plaintiffs’ knowledge or consent to make ATTM the
     exclusive provider of voice and data services for the iPhone for five years, contrary to Plaintiffs’
14
     reasonable expectations that they could switch at any time to another carrier in the first two years
15
     that they owned their iPhone after paying the $175 early termination fee, and without charge after
16
     that period.
17
             102.    ATTM unlawfully achieved an economically significant degree of market power in
18
     the iPhone Voice and Data Services Aftermarket as a result of the conspiracy and effectively
19
     foreclosed new and potential entrants from entering the market or gaining their naturally
20
     competitive market shares.
21
             103.    Apple and ATTM’s conspiracy reduced output and competition and resulted in
     increased prices in the iPhone Voice and Data Services Aftermarket and, thus, harmed competition
     generally in that market.
24
             104.    Plaintiffs were injured in fact by Apple and ATTM’s conspiracy because they were:
25
     (a) deprived of alternatives for voice and data services domestically; and (b) forced to pay
26
     supracompetitive prices for iPhone voice and data services.
27
             105.    Apple’s conspiracy to monopolize the iPhone Voice and Data Services Aftermarket
28
     violated Section 2 of the Sherman Act, and its anticompetitive practices are continuing and will

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 1   continue unless they are permanently enjoined. Plaintiffs and members of the Class have suffered
 2   economic injury to their property as a direct and proximate result of Apples’ conspiracy, and
 3   Apple is therefore liable for treble damages, costs and attorneys’ fees in amounts to be proven at
 4   trial.
 5            WHEREFORE, Plaintiffs respectfully request that the Court enter judgment against
 6   Apple as follows:
 7            a.     Permanently enjoining Apple from selling locked iPhones that can only be used
 8                   with ATTM SIM cards unless such information is adequately disclosed to
 9                   consumers prior to sale;
10            b.      Ordering Apple to provide the unlock code upon request to all members of the
11                   Class who purchased an iPhone prior to the disclosures described above;
12            c.     Permanently enjoining Apple from monopolizing or attempting to monopolize the
13                   iPhone Applications Aftermarket;
14            d.     Permanently enjoining Apple from conspiring to monopolize the iPhone Voice and
15                   Data Services Aftermarket;
16            e.     Awarding Plaintiffs and the Class treble damages for injuries caused by Apple’s
17                   violations of the federal antitrust laws;
18            f.     Awarding Plaintiffs and the Class reasonable attorneys’ fees and costs; and
19            g.     Granting such other and further relief as the Court may deem just and proper.
20                                    DEMAND FOR TRIAL BY JURY

21            Plaintiffs hereby demand a trial by jury.

22   DATED: September 28, 2012                      WOLF HALDENSTE1N ADLER
                                                      FREEMAN & HERZ LLP
23                                                  FRANCIS M. GREGOREK
                                                    RACHELE R. RICKERT
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27                                                  San Diego, California 92101
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 I
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 1                                    DECLARATION OF SERVICE
 2   I, MAUREEN LONGDO the undersigned, declare:
                                ,




 3          1.     That declarant is and was, at all times herein mentioned, a citizen of the United
 4   States and a resident of the County of San Diego, over the age of 18 years, and not a party to or
 5   interested in the within action; that declarant’s business address is 750 B Street, Suite 2770, San
 6   Diego, California 92101.
 7          2.     That on September 28, 2012, declarant served AMENDED CONSOLIDATED
 8   CLASS ACTION COMPLAINT via the CM!ECF System to the parties who are registered
 9   participants of the CM/ECF System.
10          3.     That on September 28, 2012, declarant served the parties who are not registered
11   participants of the CM/ECF System, via Electronic Mail and United States Mail.
12          4.     That there is regular communication between the parties.
13          I declare under penalty of perjury that the foregoing is true and correct. Executed this 28th
14   day of September 2012, at San Diego, California.
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17                                                       AUREE LONGØO
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*
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